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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *
THADDEUS MOORE,                                  *
                                                 *
       Plaintiff,                                *
                                                 *
               v.                                *         Civil No. SAG-24-00361
                                                 *
SUBBA REDDY, et al.,                             *
                                                 *
       Defendants.                               *
                                                 *
                                                 *
*      *       *      *       *     *   *   *    *                 *       *       *     *
                                  MEMORANDUM OPINION

       This case already was dismissed on one occasion, in August, 2024, for improper service of

process. ECF 51, 52. Plaintiff Thaddeus Moore (“Plaintiff”), who is self-represented, then filed

three amended complaints in quick succession, ECF 53, 54, 55, without submitting completed

summonses to the Court for issuance. No summonses have issued in this case since May of 2024.

ECF 27.

       Currently pending are motions to dismiss filed by three of the four named defendants, ECF

56, 58, 60, along with three motions filed by Plaintiff: a motion requesting more time to serve

defendants, ECF 67, a motion to dismiss a state case, ECF 71, and a motion to re-serve Defendants

with summons, ECF 74. This Court has reviewed all of the filings along with the oppositions and

replies. ECF 62, 63, 64, 65, 66, 69, 70. No hearing is necessary to resolve the pending motions.

See Local Rule 105.6 (D. Md. 2023). For the reasons that follow, Defendant Ciarra Roulhac’s

motion to dismiss will be granted because she is immune from suit in federal court; the motions to

dismiss filed by Defendants Dave Michalski and Chris Weir will be granted and the claims against

them will be dismissed without prejudice for improper service and failure to state a claim;
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Plaintiff’s motions requesting more time to serve Defendants and leave to re-serve Defendants will

be denied as moot because the complaint will be dismissed, and Plaintiff’s motion to dismiss state

case will be denied because this Court cannot interfere in a state court criminal proceeding.

I.     Procedural Background

       The most recent iteration of the complaint on the docket is the Revised Third Amended

Complaint (RTAC), ECF 55. The RTAC identifies the defendants and the causes of action. In the

Statement of Claim section, however, it lists facts that make no reference to two of the four

defendants: Subba Reddy or Dave Michalski. ECF 55 at 6. While not completely clear, the facts

pertaining to Defendants Weir and Roulhac appear to relate to their respective roles as the charging

officer and prosecutor in a case in state court. Id. The RTAC also contains the following language:

       The prior allegations are hereby incorporated by reference. All allegations
       previously stated in the prior complaints are hereby incorporated into the 2 nd CAC
       Amended Complaint by reference.

ECF 55 at 7. As noted above, no summonses were issued in conjunction with the filing of the

RTAC on September 4, 2024. Plaintiff has now sought leave to re-issue summons, ECF 74, but

did not attach completed summons to his motion.

II.    Defendant Roulhac’s Motion to Dismiss

       Like the other Defendants, Defendant Roulhac challenges the adequacy of service of

process in her motion to dismiss. ECF 58. Service on Defendant Roulhac was defective for the

same reasons addressed below. However, Defendant Roulhac also correctly asserts that she is not

amenable to suit in federal court for Plaintiff’s claims. Maryland, along with its agents and

agencies, enjoys Eleventh Amendment immunity from suits brought in federal court. Under the

Eleventh Amendment to the United States Constitution, a state, its agencies, and departments are

immune from suits in federal court brought by its citizens or the citizens of another state, unless

the state consents to suit. See Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100 (1984).

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“It is clear, of course, that in the absence of consent a suit in which the State or one of its agencies

or departments is named as the defendant is proscribed by the Eleventh Amendment.” Id. (citing

Florida Department of Health v. Florida Nursing Home Assn., 450 U.S. 147 (1981) (per curium)).

While the State of Maryland has waived its sovereign immunity for certain types of cases brought

in state courts, see Md. Code Ann., State Gov’t § 12-104(a), it has not waived its immunity under

the Eleventh Amendment to suit in federal court. See generally, e.g., Pense v. Md. Dept. of Pub.

Safety, 926 F.3d 97 (4th Cir. 2019).

        An Assistant State’s Attorney serving in her official capacity is a state official. See Md.

Code Ann., State Gov’t 12-101(a)(8) (confirming that a state’s attorney is “State personnel”). The

State of Maryland is thus the real party in interest in this suit against Defendant Roulhac. See

Edelman v. Jordan, 415 U.S. 651, 662-65 (1974) (reasoning that the state is the real party in interest

where damages would be payable from the state treasury). Accordingly, no claim for money

damages can lie in federal court against Defendant Roulhac in her official because such claim is

barred by the Eleventh Amendment. Any such claims must proceed in state court. Defendant

Roulhac’s motion to dismiss this case will be granted.

III.    Defendants Michalski and Weir’s Motions to Dismiss

            A. Legal Standards

        Where the validity of service is challenged, the burden rests with the plaintiff to establish

valid service. Miller v. Baltimore City Bd. of Sch. Comm’rs, 833 F. Supp. 2d 513, 516 (D. Md.

2011) (quoting O’Meara v. Waters, 464 F Supp. 2d 474, 476 (D. Md. 2006)). When assessing

whether a plaintiff has met that burden, “plain requirements for the means of effecting service of

process may not be ignored.” O’Meara, 464 F. Supp. 2d at 476; see also Armco, Inc. v. Penrod-

Stauffer Bldg. Sys., Inc., 733 F.2d 1087, 1089 (4th Cir. 1984) (“But the rules are there to be



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followed, and plain requirements for the means of effecting service of process may not be

ignored.”).

       An individual within a federal judicial district may be served by “(1) following state law

for serving a summons in an action brought in courts of general jurisdiction in the state where the

district court is located or where service is made; or (2) doing any of the following: (A) delivering

a copy of the summons and of the complaint to the individual personally; (B) leaving a copy of

each at the individual’s dwelling or usual place of abode with someone of suitable age and

discretion who resides there; or (C) delivering a copy of each to an agent authorized by

appointment or by law to receive service of process.” Fed. R. Civ. P. 4(e). Maryland law permits

service to be made by mail, but only “(3) by mailing to the person to be served a copy of the

summons, complaint, and all other papers filed with it by certified mail requesting: Restricted

Delivery – show to whom, date, address of delivery.” Maryland R. Civ. P. 2-121.

       Improper service of process deprives the Court of personal jurisdiction over the defendant.

See Koehler v. Dodwell, 152 F.3d 304, 306–07 (4th Cir. 1998) (“Absent waiver or consent, a failure

to obtain proper service on the defendant deprives the court of personal jurisdiction over the

defendant. Moreover, any judgment entered against a defendant over whom the court does not

have personal jurisdiction is void.” (internal citation omitted)).

              B. Analysis

       Plaintiff again has not met his burden of establishing valid service as to any of the four

defendants. No summons was ever issued as to the RTAC (or any of the amended complaints filed

after this Court dismissed the original complaint). Plaintiff’s recent filings make some references

to “awaiting Court summonses” but it is the plaintiff that is responsible for submitting completed

summonses to the Clerk’s Office with every version of the complaint that he files. Instructions are



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 available on this Court’s website for litigants, like Plaintiff, not represented by counsel. Because

 none of the defendants have been served with the RTAC and a valid summons, service has not

 been properly effected and this Court lacks personal jurisdiction over the defendants.

        This Court also notes that the RTAC itself is facially deficient because it purports to

 “incorporate by reference” prior versions of his complaint. ECF 55 at 7. As this Court instructed

 Plaintiff on April 24, 2024, “a complaint must consist of a single document containing all of

 Plaintiff’s allegations against any defendants he intends to name. Separate supplements and

 additions are not permitted.” ECF 21. At present, Plaintiff’s RTAC contains no factual allegations

 at all against Defendants Michalski and Reddy, and it is unclear whether it contains all of the

 allegations Plaintiff intends to assert against Defendant Weir.

        Accordingly, this Court will grant the motions to dismiss filed by Defendants Michalski

 and Weir and will dismiss the RTAC. Plaintiff will be afforded one final opportunity to file an

 amended complaint (which should be captioned “Fourth Amended Complaint”) against

 Defendants Michalski, Weir, and Reddy. The Fourth Amended Complaint should not include any

 claims against Defendant Roulhac since she cannot be sued in federal court for the actions Plaintiff

 describes. The Fourth Amended Complaint must include any and all allegations and exhibits

 Plaintiff wishes this Court to consider and cannot incorporate other filings by reference or be

 “supplemented” in any separate filings. Along with the Fourth Amended Complaint, Plaintiff must

 submit to the Clerk’s office two completed summons for each named defendant as described on

 this Court’s website. And Plaintiff must then properly serve each Defendant with the Fourth

 Amended Complaint along with a summons issued by the Clerk in accordance with the legal

 requirements.

IV.    Plaintiff’s Motions



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       Because the current version of the complaint is being dismissed, Plaintiff’s motion

requesting more time to serve Defendants, ECF 67, and motion to re-serve Defendants, ECF 74,

are denied as moot. Plaintiff will of course have time to serve the Defendants properly with the

Fourth Amended Complaint.

       Plaintiff has also filed a Motion to Dismiss State Case No. C-13-CR-23-000103. ECF 71.

As the Supreme Court has stated, “Since the beginning of this country's history Congress has,

subject to few exceptions, manifested a desire to permit state courts to try state cases free from

interference by federal courts.” Younger v. Harris, 401 U.S. 37, 43 (1971). Considerations of

comity preclude this Court’s intercession in state court criminal proceedings, which are properly

adjudicated in the state trial and appellate courts. Plaintiff’s motion will therefore be denied.

V.     Conclusion

       For the reasons set forth above, Defendants’ Motions to Dismiss, ECF 56, 58, 60 are

granted. This Court grants Plaintiff leave to file a Fourth Amended Complaint in this Court against

Defendants Michalski, Weir, and Reddy, but the Fourth Amended Complaint must

comprehensively include, on its face, all of the allegations against each named defendant and it

must be properly served on each defendant along with summons that Plaintiff submitted, in

completed form, to the Clerk of this Court. The Fourth Amended Complaint must be filed within

forty-five days of this opinion and accompanying order. Plaintiff’s motion for more time to serve

Defendants, ECF 67, and motion to re-serve Defendants, ECF 74, are denied as moot, and his

motion to dismiss state case, ECF 71, is denied. This case will be closed, subject to reopening if

the Fourth Amended Complaint is filed. An implementing Order follows.

Dated: November 14, 2024                                              /s/
                                                       Stephanie A. Gallagher
                                                       United States District Judge



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